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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                      Chapter 7

ART VAN FURNITURE, LLC., et al.,1                           Case No. 20-10553 (CSS)

                                    Debtors.                Jointly Administered

                                                             Objection Deadline: May 28, 2020 at 4:00 p.m. (ET)
                                                                                Hearing Date: To Be Scheduled

           FIRST AND FINAL APPLICATION FOR COMPENSATION AND
    REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP,
     AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS,
         FOR THE PERIOD FROM MARCH 18, 2020 THROUGH APRIL 6, 2020

Name of Applicant:                                       Pachulski Stang Ziehl & Jones LLP
Authorized to Provide Professional Services
                                                         Official Committee of Unsecured Creditors
to:
                                                         Order entered October 28, 2019 Nunc Pro Tunc
Date of Retention:
                                                         to March 18, 2020
Period for which Compensation and
                                                         March 18, 2020 through April 6, 2020
Reimbursement is Sought:
Amount of Compensation Sought as Actual,
                                                         $76,736.50
Reasonable and Necessary:
Amount of Expense Reimbursement Sought
                                                         $4,376.50
as Actual, Reasonable and Necessary:
Rates are Higher than those Approved or
Disclosed at Retention? Yes__ No X
                                                         No
If yes, Total Compensation Sought Using
Rates Disclosed in Retention Application:
Compensation Sought in this Application
Already Paid Pursuant to a Monthly                       $0.00
Compensation Order but not yet Allowed:
Expenses Sought in this Application Already
Paid Pursuant to a Monthly Compensation                  $0.00
Order but not yet Allowed:


1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509); AVF
Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC (8052); Art
Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising, LLC (6325); LF
Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The location of the Debtors’
service address in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.


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Name of Applicant:                                Pachulski Stang Ziehl & Jones LLP
Number of Professionals Included in this
                                                  7
Application:
If Applicable, Number of Professionals in
this Application not Included in Staffing Plan    N/A
Approved by Client:
If Applicable, Difference Between Fees
Budgeted and Compensation Sought for this         N/A
Period:
Number of Professionals Billing Fewer than
                                                  6
15 Hours to the Case During this Period:

This is a:           monthly        interim      X final application.

                  The total time expended for fee application preparation is approximately 2.0 hours

and the corresponding compensation requested is approximately $1,500.00.

                                  PRIOR APPLICATIONS FILED

No prior fee applications have been filed.


                                     PSZ&J PROFESSIONALS

                                 Position of the Applicant,
                                                              Hourly
                                 Number of Years in that
                                                              Billing         Total
 Name of Professional             Position, Prior Relevant                                   Total
                                                               Rate           Hours
     Individual                     Experience, Year of                                   Compensation
                                                            (including        Billed
                                   Obtaining License to
                                                             Changes)
                                Practice, Area of Expertise
                               Partner 2001; Member NY
Robert J. Feinstein                                           1245.00           11.20      $13,944.00
                               Bar 1982
                               Partner 1994; Member CA
Linda F. Cantor                Bar 1991; Member IL Bar        1075.00            8.90       $9,567.50
                               1988
                               Partner 2010; Member PA &
                               NJ Bars 1996; Member DE
Bradford J. Sandler                                           1050.00           29.90      $31,395.00
                               Bar 2001; Member NY Bar
                               2008
                               Partner 2004; Member TX Bar
Maxim B. Litvak                                                950.00            2.20       $2,090.00
                               1997; Member CA Bar 2001




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                               Position of the Applicant,
                                                               Hourly
                               Number of Years in that
                                                               Billing     Total
 Name of Professional           Position, Prior Relevant                                Total
                                                                Rate       Hours
     Individual                   Experience, Year of                                Compensation
                                                             (including    Billed
                                 Obtaining License to
                                                              Changes)
                              Practice, Area of Expertise
                             Counsel 2012; Member NJ &
Colin R. Robinson            PA Bars 2001; Member DE           825.00       13.10     $10,807.50
                             Bar 2010
                             Of Counsel 2000; Member
Gina F. Brandt                                                 825.00        0.70          $577.50
                             CA Bar 1976
                             Associate 2016; Member NY
Steven W. Golden             & MD Bars 2015; Member            625.00        2.70      $1,687.50
                             TX Bar 2016
Karina K. Yee                Paralegal                         425.00        2.50      $1,062.50
Patricia E. Cuniff           Paralegal                         425.00        4.20      $1,785.00
Patricia J. Jeffries         Paralegal                         425.00        3.80      $1,615.00
Andrea R. Paul               Case Management Assistant         350.00        1.00        $350.00
Beatrice M. Koveleski        Case Management Assistant         350.00        1.30        $455.00
Karen S. Neil                Case Management Assistant         350.00        2.20        $770.00
Sheryle L. Pitman            Case Management Assistant         350.00        1.80        $630.00

                                     Grand Total:      $76,736.50
                                     Total Hours:           85.50
                                     Blended Rate:        $897.50


                              COMPENSATION BY CATEGORY

            Project Categories                       Total Hours             Total Fees
Asset Disposition                                            5.40             $ 5,658.00
Bankruptcy Litigation                                        2.40             $ 2,715.50
Case Administration                                         14.10             $ 7,337.50
Financing                                                    8.00             $ 8,491.00
General Creditors’ Committee                                24.90             $23,164.50
Hearing                                                     10.70             $11,353.50
Operations                                                  12.90             $13,584.00
Retention of Professionals                                   4.40             $ 2,510.00
Retention of Professionals/ Others                           2.70             $ 1,922.50
Totals                                                     85.50              $76,736.50




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                                          EXPENSE SUMMARY

       Expense Category                                Service Provider2                          Total
                                                         (if applicable)                         Expenses
Conference Call                         CourtCall                                                $ 294.00
Outgoing Facsimile                                                                               $ 59.50
Reproduction Expense                                                                             $3,455.40
Reproduction/ Scan Copy                                                                          $ 349.20
Transcript                              Reliable                                                 $ 218.40
Totals                                                                                           $4,376.50




2
  PSZ&J may use one or more service providers. The service providers identified herein below are the primary
service providers for the categories described.


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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                      Chapter 7

ART VAN FURNITURE, LLC., et al.,1                           Case No. 20-10553 (CSS)

                                    Debtors.                Jointly Administered

                                                             Objection Deadline: May 28, 2020 at 4:00 p.m. (ET)
                                                                                Hearing Date: To Be Scheduled

           FIRST AND FINAL APPLICATION FOR COMPENSATION AND
    REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP,
     AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS,
         FOR THE PERIOD FROM MARCH 18, 2020 THROUGH APRIL 6, 2020

                  Pursuant to sections 330 and 331 of Title 11 of the United States Code (the

“Bankruptcy Code”), and Rule 2016 of the Federal Rules of Bankruptcy Procedure (collectively,

the “Bankruptcy Rules”), Pachulski Stang Ziehl & Jones LLP (“PSZ&J” or the “Firm”), counsel

to the Official Committee of Unsecured Creditors (“Committee”) of the above-captioned debtors

(the “Debtors”) , hereby submits its First and Final Application for Compensation and for

Reimbursement of Expenses for the Period from March 18, 2020 through April 6, 2020 (the

“Application”).

                  By this Application PSZ&J seeks a final allowance of compensation in the

amount of $76,736.50 and actual and necessary expenses in the amount of $4,376.50 for a total

allowance of $81,113.00 and payment of the unpaid portion of such fees and expenses for the

period March 18, 2020 through April 6, 2020 (the “Fee Period”). PSZ&J reserves the right to

1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509); AVF
Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC (8052); Art
Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising, LLC (6325); LF
Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The location of the Debtors’
service address in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.


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supplement this Application prior to the hearing thereon to include a request for fees and costs in

connection with the preparation and prosecution of the Application.

                                                Background

                  1.         On March 8, 2020 (the “Petition Date”), each of the Debtors commenced a

case under chapter 11 of the Bankruptcy Code. The cases are being jointly administered

pursuant to Bankruptcy Rule 1015(b).

                  2.         On September 16, 2019, the United States Trustee (the “U.S. Trustee”)

appointed the Committee to represent the interests of all unsecured creditors in these cases

pursuant to section 1102 of the Bankruptcy Code. The members appointed to the Committee

were: (i) Bioquimica.cl S.A.; (ii) Ecare India Private Limited; and (iii) Blue Cross Blue Shield

Association.

                  3.         The retention of PSZ&J, as counsel for the Committee, was approved

effective as of March 18, 2020 by this Court’s Order Authorizing and Approving the Retention of

Pachulski Stang Ziehl & Jones LLP as Counsel to the Official Committee of Unsecured

Creditors Nunc Pro Tunc to March 18, 2020 signed on April 21, 2020 [Docket No. 306] (the

“Retention Order”). The Retention Order authorized PSZ&J to be compensated on an hourly

basis and to be reimbursed for actual and necessary out-of-pocket expenses.

                  4.         On April 6, 2020, the Court entered an order converting the chapter 11

cases to chapter 7 [Docket No. 263] effective April 7, 2020 (the “Conversion Date”), and Alfred

T. Giuliano was appointed as the chapter 7 trustee [Docket No. 264].




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                  5.         On April 30, 2020, PSZ&J filed the Application of Alfred T. Giuliano,

Chapter 7 Trustee, Pursuant to Bankruptcy Code Sections 327(a) and 328(a) and Bankruptcy

Rules 2014(a) and 2016 and Local Rule 2014-1 for Authority to Employ and Retain Pachulski

Stang Ziehl & Jones LLP as Counsel to Chapter 7 Trustee, Effective as of April 7, 2020 [Docket

No. 399] (the “Trustee Retention Application”). The Trustee Retention Application is scheduled

to be heard on May 27, 2020.

                  6.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

                  7.         Attorneys retained pursuant to sections 327 or 1103 of the Bankruptcy

Code must comply with certain requirements of the United States Trustee’s Guidelines for

Reviewing Applications for Compensation and Reimbursement of Expenses Filed under 11

U.S.C. §330 by Attorneys in Larger Chapter 11 Cases (the “Revised UST Guidelines”). The

Office of the United States Trustee has promulgated forms to aid in compliance with the Revised

UST Guidelines. Charts and tables based on such forms are attached hereto as exhibits and filled

out with data to the extent relevant to these cases: Exhibit “A”, Customary and Comparable

Compensation Disclosures with Fee Applications; Exhibit “B”, Summary of Timekeepers

Included in this Fee Application, Exhibit “C-1”, Budget; Exhibit “C-2”, Staffing Plan; Exhibit

“D-1”, Summary of Compensation Requested by Project Category; Exhibit “D-2”, Summary of

Expense Reimbursement Requested by Category; and Exhibit “E”, Summary Cover Sheet of

Fee Application.




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                        PSZ&J’s APPLICATION FOR COMPENSATION AND
                            FOR REIMBURSEMENT OF EXPENSES

                                     Compensation Paid and Its Source

                  8.         By this Application, PSZ&J requests that the Court approve the final

allowance of compensation for professional services rendered and the reimbursement of actual

and necessary expenses incurred by PSZ&J from March 18, 2020 through April 6, 2020. To the

extent that PSZ&J has incurred fees and expenses in addition to the foregoing, PSZ&J reserves

the right, and respectfully requests that the Court authorize PSZ&J, to file a supplemental fee

application(s) and submitting a certificate of no objection and order to the Court for final

approval of such fees and expenses as may be reflected in any supplemental fee application.

                  9.         At all relevant times, PSZ&J has been a disinterested person as that term is

defined in §101(14) of the Bankruptcy Code and has not represented or held an interest adverse

to the interest of the Committee or the Debtors.

                  10.        All services for which PSZ&J requests compensation were performed for

or on behalf of the Committee, and not on behalf of the Debtors, or any creditor or other person.

                  11.        PSZ&J has received no payment and no promises for payment from any

source other than the Debtors for services rendered or to be rendered in any capacity whatsoever

in connection with the matters covered by this Application. There is no agreement or

understanding between PSZ&J and any other person other than the partners of PSZ&J for the

sharing of compensation to be received for services rendered in these cases. PSZ&J did not

receive a retainer in these cases.




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                  12.        The professional services and related expenses for which PSZ&J requests

interim allowance of compensation and reimbursement of expenses were rendered and incurred

in connection with this case in the discharge of PSZ&J’s professional responsibilities as

attorneys for the Committee in these chapter 11 cases. PSZ&J’s services have been necessary

and beneficial to the Committee, the Debtors and their estates, creditors and other parties in

interest.

                  13.        In accordance with the factors enumerated in section 330 of the

Bankruptcy Code, it is respectfully submitted that the amount requested by PSZ&J is fair and

reasonable given (a) the complexity of the case, (b) the time expended, (c) the nature and extent

of the services rendered, (d) the value of such services, and (e) the costs of comparable services

other than in a case under the Bankruptcy Code. Moreover, PSZ&J has reviewed the

requirements of Del. Bankr. LR 2016-2 and the Administrative Order and believes that this

Application complies with such Rule and Order.

                                               Fee Statements

                  14.        The fee statement for the Fee Period is attached hereto as Exhibit F. This

statement contains daily time logs describing the time spent by each attorney and

paraprofessional during the Fee Period. To the best of PSZ&J’s knowledge, this Application

complies with sections 330 and 331 of the Bankruptcy Code and the Bankruptcy Rules.

PSZ&J’s time reports are initially handwritten by the attorney or paralegal performing the

described services. The time reports are organized on a daily basis. PSZ&J is particularly

sensitive to issues of “lumping” and, unless time was spent in one time frame on a variety of



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different matters for a particular client, separate time entries are set forth in the time reports.

PSZ&J’s charges for its professional services are based upon the time, nature, extent and value

of such services and the cost of comparable services other than in a case under the Bankruptcy

Code. PSZ&J has reduced its charges related to any non-working “travel time” to fifty percent

(50%) of PSZ&J’s standard hourly rate. To the extent it is feasible, PSZ&J professionals attempt

to work during travel.

                                      Actual and Necessary Expenses

                  15.        A summary of actual and necessary expenses incurred by PSZ&J for the

Fee Period is attached hereto as part of Exhibit F. PSZ&J customarily charges $0.10 per page

for photocopying expenses related to cases, such as this one, arising in Delaware. PSZ&J’s

photocopying machines automatically record the number of copies made when the person that is

doing the copying enters the client’s account number into a device attached to the photocopier.

PSZ&J summarizes each client’s photocopying charges on a daily basis.

                  16.        PSZ&J charges $0.25 per page for out-going facsimile transmissions.

There is no additional charge for long distance telephone calls on faxes. The charge for outgoing

facsimile transmissions reflects PSZ&J’s calculation of the actual costs incurred by PSZ&J for

the machines, supplies and extra labor expenses associated with sending telecopies and is

reasonable in relation to the amount charged by outside vendors who provide similar services.

PSZ&J does not charge the Debtors for the receipt of faxes in these cases.

                  17.        With respect to providers of on-line legal research services (e.g., LEXIS

and WESTLAW), PSZ&J charges the standard usage rates these providers charge for



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computerized legal research. PSZ&J bills its clients the actual amounts charged by such

services, with no premium. Any volume discount received by PSZ&J is passed on to the client.

                  18.        PSZ&J believes the foregoing rates are the market rates that the majority

of law firms charge clients for such services. In addition, PSZ&J believes that such charges are

in accordance with the American Bar Association’s (“ABA”) guidelines, as set forth in the

ABA’s Statement of Principles, dated January 12, 1995, regarding billing for disbursements and

other charges.

                                      Summary of Services Rendered

                  19.        The names of the partners and associates of PSZ&J who have rendered

professional services in this case during the Fee Period, and the paralegals and case management

assistants of PSZ&J who provided services to these attorneys during the Fee Period, are set forth

in the attached Exhibit F.

                  20.        PSZ&J, by and through such persons, has prepared and assisted in the

preparation of various motions and orders submitted to the Court for consideration, advised the

Committee on a regular basis with respect to various matters in connection with the Debtors’

bankruptcy cases, and performed all necessary professional services which are described and

narrated in detail below. PSZ&J’s efforts have been extensive due to the size and complexity of

the Debtors’ bankruptcy cases.

                                      Summary of Services by Project

                  21.        The services rendered by PSZ&J during the Fee Period can be grouped

into the categories set forth below. PSZ&J attempted to place the services provided in the



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category that best relates to such services. However, because certain services may relate to one

or more categories, services pertaining to one category may in fact be included in another

category. These services performed, by categories, are generally described below, with a more

detailed identification of the actual services provided set forth on the attached Exhibit F.

Exhibit F identifies the attorneys and paraprofessionals who rendered services relating to each

category, along with the number of hours for each individual and the total compensation sought

for each category.

A.       Asset Disposition

                  22.        Time billed to this category relates to the shutdown and liquidation of the

Debtors’ estates. During the Fee Period, the Firm, among other things: (i) addressed liquidation

and shutdown issues; (ii) addressed landlord issues; (iii) addressed potential private sale

inquiries; and (iv) addressed a potential going concern sale.

                             Fees: $5,658.00                Hours: 5.40

B.       Bankruptcy Litigation

                  23.        During the Fee Period, the Firm, among other things: (i) reviewed and

analyzed first day motions; (ii) reviewed and analyzed the US Trustee’s objection to the

liquidator motion; (iii) reviewed the Debtors’ proposed wind down plan; and (iv) reviewed and

analyzed the motion to convert the cases to Chapter 7.

                             Fees: $2,715.50                Hours: 2.40




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C.       Case Administration

                  24.        This category relates to work regarding administration of this case.

During the Fee Period, the Firm, among other things, (i) attended to committee formation

matters; (ii) interviewed potential financial advisors; (iii) maintained a memorandum of critical

dates; (iv) reviewed correspondence and pleadings and forwarded them to appropriate parties;

and (v) reviewed and revised service lists.

                             Fees: $7,337.50                Hours: 14.10

D.       Financing

                  25.        This category relates to issues regarding debtor in possession (“DIP”)

financing and use of cash collateral. During the Fee Period, the Firm, among other things:

(i) reviewed and analyzed the Debtors’ DIP financing and cash collateral usage; (ii) addressed

financing issues in connection with a liquidation; and (iii) reviewed and analyzed the Debtors’

budget and strategic plan in connection with a shutdown and potential liquidation.

                             Fees: $8,491.00                Hours: 8.00

E.       General Creditors’ Committee

                  26.        This category relates primarily to communications with the Committee

regarding the various filings and strategies of the case. During the Interim Period, the Firm,

among other things, attended to Committee bylaws, prepared a memorandum to the Committee

summarizing the various first day pleadings filed in the case, and prepared for and conducted

interviews with potential financial advisors.

                             Fees: $23,164.50               Hours: 24.90




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F.       Hearing

                  27.        During the Fee Period, the Firm prepared for and attended various

telephonic hearings held during the Fee Period, and conferred with counsel post hearing.

                             Fees: $11,353.50                Hours: 10.70

G.       Operations

                  28.        Time billed to this category relates to the various operational issues of the

Debtors. During the Fee Period, the Firm, among other things: (i) conferred with counsel

regarding operational strategies; (ii) addressed case strategy/ shutdown issues; (iii) addressed

landlord rent issues; (iv) reviewed and analyzed the Debtors’ business plan; (v) conferred with

estate professionals regarding “mothballing” and conversion.

                             Fees: $13,584.00                Hours: 12.90

H.       Retention of Professionals

                  29.        This category relates to issues regarding retention of the Firm. During the

Fee Period, the Firm, among other things, performed work regarding the Firm’s retention

application.

                             Fees: $2,510.00                 Hours: 4.40

I.       Retention of Professionals/ -Others

                  30.        During the Fee Period, the Firm assisted AlixPartners with the preparation

and filing of their retention application, addressed issues regarding the retention of Hilco and

reviewed MMWR’s retention application.

                             Fees: $1,922.50                 Hours: 2.70




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                                           Valuation of Services

                  31.        Attorneys and paraprofessionals of PSZ&J expended a total 85.50 hours in

connection with their representation of the Debtors during the Fee Period, as follows:

                                   Position of the Applicant,
                                                                Hourly
                                   Number of Years in that
                                                                Billing         Total
 Name of Professional               Position, Prior Relevant                                  Total
                                                                 Rate           Hours
     Individual                       Experience, Year of                                  Compensation
                                                              (including        Billed
                                     Obtaining License to
                                                               Changes)
                                  Practice, Area of Expertise
                                 Partner 2001; Member NY
Robert J. Feinstein                                             1245.00           11.20     $13,944.00
                                 Bar 1982
                                 Partner 1994; Member CA
Linda F. Cantor                  Bar 1991; Member IL Bar        1075.00            8.90      $9,567.50
                                 1988
                                 Partner 2010; Member PA &
                                 NJ Bars 1996; Member DE
Bradford J. Sandler                                             1050.00           29.90     $31,395.00
                                 Bar 2001; Member NY Bar
                                 2008
                                 Partner 2004; Member TX Bar
Maxim B. Litvak                                                  950.00            2.20      $2,090.00
                                 1997; Member CA Bar 2001
                                 Counsel 2012; Member NJ &
Colin R. Robinson                PA Bars 2001; Member DE         825.00           13.10     $10,807.50
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                                 Of Counsel 2000; Member
Gina F. Brandt                                                   825.00            0.70        $577.50
                                 CA Bar 1976
                                 Associate 2016; Member NY
Steven W. Golden                 & MD Bars 2015; Member          625.00            2.70      $1,687.50
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Karina K. Yee                    Paralegal                       425.00            2.50      $1,062.50
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                                        Grand Total:        $76,736.50
                                        Total Hours:             85.50
                                        Blended Rate:          $897.50




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                  32.        The nature of work performed by these persons is fully set forth in Exhibit

F attached hereto. These are PSZ&J’s normal hourly rates for work of this character. The

reasonable value of the services rendered by PSZ&J for the Debtors during the Fee Period is

$76,736.50.

                                           Statement from PSZ&J

                  33.        Pursuant to the Appendix B Guidelines for Reviewing Application for

Compensation and Reimbursement of Expenses Filed Under United States Code by Attorneys in

Larger Chapter 11 Cases, PSZ&J responds to the following questions regarding the Application:

                                                                                Additional Explanation
Question                                           Yes             No
                                                                                or Clarification
Did you agree to any variations from, or                           No
alternatives to, your standard or customary
billing rates, fees or terms for services
pertaining to this engagement that were
provided during the application period? If so,
please explain.
If the fees sought in this fee application as                      N/A
compared to the fees budgeted for the time
period covered by this fee application are
higher by 10% or more, did you discuss the
reasons for the variation with the client?
Have any of the professionals included in this                     No
fee application varied their hourly rate based
on the geographic location of the bankruptcy
case?
Does the fee application include time or fees                      No
related to reviewing or revising time records
or preparing, reviewing, or revising invoices?
Does this fee application include time or fees                     No
for reviewing time records to redact any
privileged or other confidential information?
If so, please quantify by hours and fees.
If the fee application includes any rate                           N/A
increases since retention in these Cases:
     i.       Did your client review and
              approve those rate increases in
              advance?
     ii.      Did your client agree when



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                                                                               Additional Explanation
Question                                           Yes            No
                                                                               or Clarification
             retaining the law firm to accept
             all future rate increases? If not,
             did you inform your client that
             they need not agree to modified
             rates or terms in order to have you
             continue the representation,
             consistent with ABA Formal
             Ethics Opinion 11-458?

                  34.        In accordance with the factors enumerated in section 330 of the

Bankruptcy Code, it is respectfully submitted that the amount requested by PSZ&J is fair and

reasonable given (a) the complexity of the case, (b) the time expended, (c) the nature and extent

of the services rendered, (d) the value of such services, and (e) the costs of comparable services

other than in a case under the Bankruptcy Code. Moreover, PSZ&J has reviewed the

requirements of Del. Bankr. LR 2016-2 and believes that this Application complies with such

Rule.

                  WHEREFORE, PSZ&J respectfully requests that the Court enter an order,

substantially in the form attached hereto, providing that, for the period of March 18, 2020

through April 6, 2020, a final allowance be made to PSZ&J in the sum of $76,736.50 and actual

and necessary expenses in the amount of $4,376.50 for a total allowance of $81,113.00; that

Debtors be authorized and directed to pay to PSZ&J the outstanding amount of such sums; that

to the extent PSZ&J has incurred fees and expenses in addition to the foregoing, PSZ&J may file

a supplemental fee application(s) and submit a certificate of no objection and order to the Court

for final approval of such fees and expenses as may be reflected in any supplemental fee

application; and for such other and further relief as this Court deems proper.




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Dated: May 7, 2020                   PACHULSKI STANG ZIEHL & JONES LLP

                                     /s/ Bradford J. Sandler
                                     Bradford J. Sandler (DE Bar No. 4142)
                                     Colin R. Robinson (DE Bar No. 5524)
                                     Peter J. Keane (DE Bar No. 5503)
                                     919 N. Market Street, 17th Floor
                                     Wilmington, DE 19801
                                     Telephone: (302) 652-4100
                                     Facsimile: (302) 652-4400
                                     Email:     bsandler@pszjlaw.com
                                                crobinson@pszjlaw.com
                                                pkeane@pszjlaw.com




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                                              DECLARATION

STATE OF DELAWARE    :
                     :
COUNTY OF NEW CASTLE :


                  Bradford J. Sandler, after being duly sworn according to law, deposes and says:

                  a)         I am a partner with the applicant law firm Pachulski Stang Ziehl & Jones

LLP, and have been admitted to appear before this Court.

                  b)         I am familiar with the work performed on behalf of the Committee by the

lawyers and paraprofessionals of PSZ&J.

                  c)         I have reviewed the foregoing Application and the facts set forth therein

are true and correct to the best of my knowledge, information and belief. Moreover, I have

reviewed Del. Bankr. LR 2016-2 and submit that the Application substantially complies with

such Rule.



                                               /s/ Bradford J. Sandler
                                               Bradford J. Sandler




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                      Chapter 7

ART VAN FURNITURE, LLC., et al.,1                           Case No. 20-10553 (CSS)

                                    Debtors.                Jointly Administered

                                                            Re: Docket No.

ORDER GRANTING FIRST AND FINAL APPLICATION FOR COMPENSATION AND
 REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP,
  AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS,
      FOR THE PERIOD FROM MARCH 18, 2020 THROUGH APRIL 6, 2020

                  Pachulski Stang Ziehl & Jones LLP (“PSZ&J”), as Counsel to the Official

Committee of Unsecured Creditors (“Committee”) in the above-captioned cases, filed its First

and Final Application for Compensation and for Reimbursement of Expenses for the Period from

March 18, 2020 through April 6, 2020 (the “Application”). The Court has reviewed the

Application and finds that: (a) the Court has jurisdiction over this matter pursuant to 28 U.S.C.

§§ 157 and 1334; (b) notice of the Application, and any hearing on the Application, was

adequate under the circumstances; and (c) all persons with standing have been afforded the

opportunity to be heard on the Application. Accordingly, it is hereby

                  ORDERED that the Application is GRANTED, on a final basis, and in the sum of

$76,736.50 for fees and $4,376.50 for expenses, for a total final award of $81,113.00 for services




1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509); AVF
Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC (8052); Art
Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising, LLC (6325); LF
Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The location of the Debtors’
service address in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.


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rendered and disbursements incurred by PSZ&J for the period March 18, 2020 through April 6,

2020.

                  ORDERED that PSZ&J may file one or more supplemental fee applications and

submit a certificate of no objection and order to the Court for final approval of such fees and

expenses as may be reflected in any such supplemental fee application.

                  ORDERED that this Court retains jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, and enforcement of this Order.

Dated: ___________, 2020

                                                HONORABLE CHRISTOPHER S. SONTCHI
                                                CHIEF UNITED STATES BANKRUPTCY
                                                JUDGE




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                                     EXHIBIT A

        Customary and Comparable Compensation Disclosures with Fee Applications




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                                                                                    EXHIBIT A

                                      CUSTOMARY AND COMPARABLE COMPENSATION DISCLOSURES WITH FEE APPLICATIONS

                                               (See Guidelines C.3. for definitions of terms used in this Exhibit.)


                                                                                                                     BLENDED HOURLY RATE
                                  CATEGORY OF TIMEKEEPER
                      (using categories already maintained by the firm)                           BILLED OR COLLECTED                               BILLED

                                                                                           Firm or offices for preceding year,             In this fee application
                                                                                                  excluding bankruptcy*

                         Sr./Equity Partner/Shareholder                                                   $1,012.18                                            $1,091.89

                         Of Counsel                                                                        $832.12                                               $825.00

                         Associates                                                                        $615.00                                               $625.00

                         Paralegal                                                                         $391.00                                               $425.00

                         Case Management Assistants                                                        $325.00                                               $350.00

                         All timekeepers aggregated                                                        $604.22                                               $897.50

* Represents approximate blended hourly rate. Non-estate work for PSZ&J represents a de minimis amount of the Firm’s revenues as the Firm’s engagements are primarily on
behalf of debtors, official committees, and other estate-billed constituencies. For the fiscal year ending 2018, non-estate work represented approximately 2-3% of the Firm’s
revenues. In 2019, non-estate work represented approximately 4-5% of the Firm’s revenues, and in 2020, it is expected that non-estate work will represent approximately 4-5% of
the Firm’s revenues.

**Represents an estimate for the aggregate blended hourly rate for all timekeepers on non-estate work.




  Case Name:                  Art Van Furniture, LLC, et al.
  Case Number:                20-10553 (CSS)
  Applicant's Name:           Pachulski Stang Ziehl & Jones LLP
  Date of Application:        05/07/20
  Interim or Final:           Final




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                                           EXHIBIT B

                     Summary of Timekeepers Included in this Fee Application




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                                                                                                                    HOURLY RATE BILLED         NUMBER OF
                                                  DEPARTMENT           DATE OF     HOURS BILLED    FEES BILLED
                                                                                                                                             RATE INCREASES
        NAME                     TITLE OR POSITION GROUP OR             FIRST        IN THIS          IN THIS                    IN FIRST
                                                                                                                                                SINCE CASE
                                                    SECTION           ADMISSION1   APPLICATION    APPLICATION       IN THIS      INTERIM
                                                                                                                                                INCEPTION
                                                                                                                 APPLICATION   APPLICATION
Andrea R. Paul                   Case Mgmt. Assist.    Bankruptcy                       1.00      $ 350.00        $350.00          N/A             0
Beatrice M. Koveleski            Case Mgmt. Assist.    Bankruptcy                       1.30      $ 455.00        $350.00          N/A             0
Bradford J. Sandler              Partner               Bankruptcy     1996             29.90      $31,395.00     $1,050.00         N/A             0
Colin R. Robinson                Of Counsel            Bankruptcy     2001             13.10      $10,807.50      $825.00          N/A             0
Gina F. Brandt                   Of counsel            Bankruptcy     1976              0.70      $ 577.50        $825.00          N/A             0
Karen S. Neil                    Case Mgmt. Assist.    Bankruptcy                       2.50      $ 1,062.50      $425.00          N/A             0
Karina K. Yee                    Paralegal             Bankruptcy                       2.20      $ 770.00        $350.00          N/A             0
Linda F. Cantor                  Partner               Bankruptcy     1988              8.90      $ 9,567.50     $1,075.00         N/A             0
Maxim B. Litvak                  Partner               Bankruptcy     1997              2.20      $ 2,090.00      $950.00          N/A             0
Patricia E. Cuniff               Paralegal             Bankruptcy                       4.20      $ 1,785.00      $425.00          N/A             0
Patricia J. Jeffries             Paralegal             Bankruptcy                       3.80      $ 1,615.00      $425.00          N/A             0
Robert J. Feinstein              Partner               Bankruptcy     1982             11.20      $13,944.00     $1,245.00         N/A             0
Sheryle L. Pitman                Case Mgmt. Assist.    Bankruptcy                       1.80      $ 630.00        $350.00          N/A             0
Steven W. Golden                 Associate             Bankruptcy     2014              2.70      $ 1,687.50      $625.00          N/A             0
Grand Total                                                                            85.50      $76,736.50




Case Name:                        Art Van Furniture, LLC, et al.
Case Number:                      20-10553 (CSS)
Applicant's Name:                 Pachulski Stang Ziehl & Jones LLP
Date of Application:              05/07/20
Interim or Final:                 Final




            1
                If applicable.


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                              EXHIBIT C-1
                                       Budget




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                                               EXHIBIT C-1
                                                 BUDGET
If the parties consent or the court so directs, a budget approved by the client in advance should
generally be attached to each interim and final fee application filed by the applicant. If the fees sought in
the fee application vary by more than 10% from the budget, the fee application should explain the
variance. See Guidelines ¶ C.8. for project category information.




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                              EXHIBIT C-2
                                     Staffing Plan




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                                                                              EXHIBIT C-2

                                                                             STAFFING PLAN
            If the parties consent or the court so directs, a staffing plan approved by the client in advance should generally be attached to each interim and
            final fee application filed by the applicant. If the fees are sought in the fee application for a greater number of professionals than identified in
            the staffing plan, the fee application should explain the variance.


                                                                                NUMBER OF TIMEKEEPERS EXPECTED TO
                                   CATEGORY OF TIMEKEEPER 1
                                                                                 WORK ON THE MATTER DURING THE                         AVERAGE HOURLY RATE
                             (using categories maintained by the firm)
                                                                                         BUDGET PERIOD
                       Sr./Equity Partner/Shareholder                                               4                                              $1,091.89

                       Counsel                                                                      2                                                $825.00

                       Associates                                                                   1                                                $625.00

                       Paralegal                                                                    3                                                $425.00

                       Case Management Assistant                                                    4                                                $350.00
   1 As an alternative, firms can identify attorney timekeepers by years of experience rather than category of attorney timekeeper: 0-3, 4-7, 8-14, and 15+. Non-
   attorney timekeepers, such as paralegals, should be identified by category.




Case Name:                   Art Van Furniture, LLC, et al.
Case Number:                 20-10553 (CSS)
Applicant's Name:            Pachulski Stang Ziehl & Jones LLP
Date of Application:         05/07/20
Interim or Final:            Final




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                                        EXHIBIT D-1


                    Summary of Compensation Requested by Project Category




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                                                             HOURS        FEES           HOURS            FEES
                    PROJECT CATEGORY
                                                           BUDGETED1    BUDGETED1        BILLED         SOUGHT
      Asset Disposition                                         5.00     $5,500.00        5.40          $ 5,658.00
      Bankruptcy Litigation                                     5.00     $3,000.00        2.40          $ 2,715.50
      Case Administration                                      15.00     $7,500.00       14.10          $ 7,337.50
      Financing                                                10.00    $10,000.00        8.00          $ 8,491.00
      General Creditors’ Committee                             25.00    $25,000.00       24.90          $23,164.50
      Hearing                                                  15.00    $20,000.00       10.70          $11,353.50
      Operations                                               15.00    $20,000.00       12.90          $13,584.00
      Retention of Professionals                                5.00     $5,000.00        4.40          $ 2,510.00
      Retention of Professionals/ Other                         5.00     $4,000.00        2.70          $ 1,922.50
      Total                                                   100.00   $100,000.00        85.50         $76,736.50




Case Name:                        Art Van Furniture, LLC, et al.
Case Number:                      20-10553 (CSS)
Applicant's Name:                 Pachulski Stang Ziehl & Jones LLP
Date of Application:              05/07/20
Interim or Final:                 Final




            1
                If applicable.


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                                 EXHIBIT D-2
                   Summary of Expense Reimbursement Requested by Category




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                                                           EXHIBIT D -2
                       SUMMARY OF EXPENSE REIMBURSEMENT REQUESTED BY CATEGORY
                            (See Guidelines C.8. for project category information.)

                                        Expense Category                  Total Expenses
                       CourtCall                                               $ 294.00
                       Outgoing Facsimile                                      $ 59.50
                       Reproduction Expense                                    $3,455.40
                       Reproduction/ Scan Copy                                  $ 349.20
                       Transcript                                               $ 218.40
                       Totals                                                  $4,376.50




Case Name:                  Art Van Furniture, LLC, et al.
Case Number:                20-10553 (CSS)
Applicant's Name:           Pachulski Stang Ziehl & Jones LLP
Date of Application:        05/07/20
Interim or Final:           Final




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                                    EXHIBIT E
                             Summary Cover Sheet of Fee Application




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                                            EXHIBIT E
                                SUMMARY COVER SHEET OF FEE APPLICATION

Name of applicant:                                                       Pachulski Stang Ziehl & Jones LLP
                                                                         The Official Committee of Unsecured
Name of client:
                                                                         Creditors
Time period covered by this application:                                 March 18, 2020 – April 6, 20201

Total compensation sought this period:                                   $76,836.50

Total expenses sought this period:                                       $4,376.50

Petition date:                                                           March 8, 2020

Retention date:                                                          Nunc Pro Tunc to March 18, 2020

Date of order approving employment                                       April 21, 2020

Total fees approved by interim order to date                             $0.00

Total expenses approved by interim order to date                         $0.00

Total allowed fees paid to date                                          $0.00

Total allowed expenses paid to date                                      $0.00

    Blended rate in this application for all attorneys                   $1,019.93

    Blended rate in this application for all timekeepers                 $897.50
Fees sought in this application already paid
pursuant to a monthly compensation order but not                         $0.00
yet allowed
Expenses sought in this application already paid
pursuant to a monthly compensation order but not yet                     $0.00
allowed
    Number of professionals included in this application                 7
If applicable, number of professionals in this
application not included in staffing plan approved by                    N/A
client
If applicable, difference between fees budgeted and
                                                                         N/A
compensation sought for this period


1
     The applicant reserves the right to include any time expended in the time period indicated above in future
     application(s) if it is not included herein.


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           Name of applicant:                                          Pachulski Stang Ziehl & Jones LLP
            Number of professionals billing fewer than 15 hours to
                                                                       6
            the case during this period
            Are any rates higher than those approved or disclosed at
            retention? If yes, calculate and disclose the total
                                                                       No.
            compensation sought in this application using the rates
            originally disclosed in the retention application




Case Name:                  Art Van Furniture, LLC, et al.
Case Number:                20-10553 (CSS)
Applicant's Name:           Pachulski Stang Ziehl & Jones LLP
Date of Application:        05/07/20
Interim or Final:           Final




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                                            EXHIBTI F

                             Invoice for March 18, 2020 – April 6, 2020




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                               Pachulski Stang Ziehl & Jones LLP
                                         780 Third Avenue
                                            34th Floor
                                        New York, NY 10017
                                                                  April 06, 2020
RJF                                                               Invoice 124814
                                                                  Client    05233
                                                                  Matter    00002
                                                                            RJF

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 04/06/2020
               FEES                                                $76,736.50
               EXPENSES                                             $4,376.50
               TOTAL CURRENT CHARGES                               $81,113.00

               TOTAL BALANCE DUE                                   $81,113.00
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Pachulski Stang Ziehl & Jones LLP                                                 Page:      2
Art Van Furniture LLC O.C.C.                                                      Invoice 124814
05233 - 00002                                                                     April 06, 2020




  Summary of Services by Professional
  ID        Name                           Title                        Rate       Hours              Amount

 ARP        Paul, Andrea R.                Case Man. Asst.          350.00          1.00             $350.00

 BJS        Sandler, Bradford J.           Partner                 1050.00         29.90           $31,395.00

 BMK        Koveleski, Beatrice M.         Case Man. Asst.          350.00          1.30             $455.00

 CRR        Robinson, Colin R.             Counsel                  825.00         13.10           $10,807.50

 GFB        Brandt, Gina F.                Counsel                  825.00          0.70             $577.50

 KKY        Yee, Karina K.                 Paralegal                425.00          2.50            $1,062.50

 KSN        Neil, Karen S.                 Case Man. Asst.          350.00          2.20             $770.00

 LFC        Cantor, Linda F.               Partner                 1075.00          8.90            $9,567.50

 MBL        Litvak, Maxim B.               Partner                  950.00          2.20            $2,090.00

 PEC        Cuniff, Patricia E.            Paralegal                425.00          4.20            $1,785.00

 PJJ        Jeffries, Patricia J.          Paralegal                425.00          3.80            $1,615.00

 RJF        Feinstein, Robert J.           Partner                 1245.00         11.20           $13,944.00

 SLP        Pitman, L. Sheryle             Case Man. Asst.          350.00          1.80             $630.00

 SWG        Golden, Steven W.              Associate                625.00          2.70            $1,687.50

                                                                                  85.50            $76,736.50
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Art Van Furniture LLC O.C.C.                                                             Invoice 124814
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  Summary of Services by Task Code
  Task Code         Description                                                  Hours                      Amount

 AD                 Asset Disposition [B130]                                      5.40                     $5,658.00

 BL                 Bankruptcy Litigation [L430]                                  2.40                     $2,715.50

 CA                 Case Administration [B110]                                   14.10                     $7,337.50

 FN                 Financing [B230]                                              8.00                     $8,491.00

 GC                 General Creditors Comm. [B150]                               24.90                    $23,164.50

 HE                 Hearing                                                      10.70                    $11,353.50

 OP                 Operations [B210]                                            12.90                    $13,584.00

 RP                 Retention of Prof. [B160]                                     4.40                     $2,510.00

 RPO                Ret. of Prof./Other                                           2.70                     $1,922.50

                                                                                 85.50                    $76,736.50
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Pachulski Stang Ziehl & Jones LLP                                          Page:      4
Art Van Furniture LLC O.C.C.                                               Invoice 124814
05233 - 00002                                                              April 06, 2020


  Summary of Expenses
  Description                                                                                    Amount
Conference Call [E105]                                                                 $294.00
Fax Transmittal [E104]                                                                      $59.50
Reproduction Expense [E101]                                                           $3,455.40
Reproduction/ Scan Copy                                                                $349.20
Transcript [E116]                                                                      $218.40

                                                                                      $4,376.50
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Art Van Furniture LLC O.C.C.                                                                       Invoice 124814
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                                                                                          Hours            Rate      Amount

  Asset Disposition [B130]
 03/19/2020   BJS     AD        Various emails with S. Fox, J. Wolf regarding               0.20      1050.00        $210.00
                                liquidation

 03/24/2020   BJS     AD        Various emails with C. Ganz regarding shutdown,             0.30      1050.00        $315.00
                                stay relief, LL issues

 03/24/2020   BJS     AD        Review Gray & Associates objection                          0.10      1050.00        $105.00

 03/24/2020   BJS     AD        Teleconference with L. Heilman regarding rejection          0.10      1050.00        $105.00
                                motion

 03/25/2020   RJF     AD        Email regarding Van bid.                                    0.10      1245.00        $124.50

 03/25/2020   BJS     AD        Review letter of intent from the Van Elslander              0.40      1050.00        $420.00
                                family (.3); various emails with Robert J. Feinstein
                                regarding same

 03/26/2020   BJS     AD        Various emails with Gregory Werkheiser regarding            0.20      1050.00        $210.00
                                business plan

 03/26/2020   BJS     AD        Teleconference with Robert Levin (Clark Hill Team)          0.50      1050.00        $525.00
                                regarding potential private sale terms

 03/26/2020   BJS     AD        Various emails with R. Gold regarding Levin                 0.20      1050.00        $210.00
                                Furniture/Tempur

 03/26/2020   CRR     AD        Review draft cash forecast and Email from Debtors           0.40        825.00       $330.00
                                re same;

 03/28/2020   BJS     AD        Various emails with B. Price regarding Levin                0.20      1050.00        $210.00
                                purchase

 03/30/2020   BJS     AD        Teleconference with LCN business and legal team             1.00      1050.00       $1,050.00
                                regarding possible going concern transaction

 03/30/2020   BJS     AD        Various emails with D. Williamson regarding                 0.10      1050.00        $105.00
                                possible going concern transaction

 03/30/2020   BJS     AD        Review Serta response to store closing motion               0.20      1050.00        $210.00

 03/31/2020   RJF     AD        Telephone conference with Bradford J. Sandler               0.30      1245.00        $373.50
                                regarding sale possibilities.

 03/31/2020   BJS     AD        Teleconference with D. Williamson regarding                 0.50      1050.00        $525.00
                                potential going concern transaction

 03/31/2020   BJS     AD        Teleconference with Robert J. Feinstein regarding           0.30      1050.00        $315.00
                                potential going concern transaction

 03/31/2020   BJS     AD        Teleconference with J. Feldsher regarding                   0.20      1050.00        $210.00
                                conversion
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Pachulski Stang Ziehl & Jones LLP                                                                Page:      6
Art Van Furniture LLC O.C.C.                                                                     Invoice 124814
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                                                                                        Hours            Rate      Amount

 03/31/2020   BJS     AD        Various emails with J. Leventhal regarding Gary           0.10      1050.00        $105.00
                                Van Elslander

                                                                                          5.40                    $5,658.00

  Bankruptcy Litigation [L430]
 03/18/2020   BJS     BL        Various emails with L. Cantor regarding cash              0.10      1050.00        $105.00
                                management

 03/19/2020   RJF     BL        Review UST objection to liquidator motion and             0.40      1245.00        $498.00
                                related research.

 03/19/2020   RJF     BL        Telephone conference with Bradford J. Sandler             0.30      1245.00        $373.50
                                review UST objection to liquidator motion and
                                related research.

 03/23/2020   BJS     BL        Review motion to extend schedules                         0.10      1050.00        $105.00

 03/24/2020   BJS     BL        Teleconference with Gregory Werkheiser regarding          0.10      1050.00        $105.00
                                status conference

 03/24/2020   BJS     BL        Various emails with Alix Partners regarding second        0.20      1050.00        $210.00
                                day heairngs

 03/24/2020   CRR     BL        Review proposed wind-down plan;                           0.30        825.00       $247.50

 03/26/2020   BJS     BL        Review utility objection                                  0.10      1050.00        $105.00

 03/27/2020   MBL     BL        Attention to case status and proposed procedures.         0.10        950.00        $95.00

 04/05/2020   RJF     BL        Review conversion motion and form of order.               0.50      1245.00        $622.50

 04/06/2020   RJF     BL        Review revised draft conversion order.                    0.20      1245.00        $249.00

                                                                                          2.40                    $2,715.50

  Case Administration [B110]
 03/18/2020   PJJ     CA        Prepare WIP list.                                         0.50        425.00       $212.50

 03/18/2020   BJS     CA        Teleconference with J. Hoover regarding                   0.10      1050.00        $105.00
                                introduction to case

 03/18/2020   BJS     CA        Various emails with UCC regarding financial               0.40      1050.00        $420.00
                                advisor interviews

 03/18/2020   BJS     CA        Various emails with financial advisors regarding          0.30      1050.00        $315.00
                                interviews

 03/18/2020   CRR     CA        Review docket, critical dates;                            0.80        825.00       $660.00

 03/18/2020   CRR     CA        Email communication w/ Debtors’ counsel re                0.40        825.00       $330.00
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                                                                                        Hours            Rate     Amount
                                conflict list and First Day orders;
 03/18/2020   CRR     CA        Review, revise WIP;                                       0.70        825.00      $577.50

 03/19/2020   PEC     CA        Review daily correspondence and pleadings and             0.20        425.00       $85.00
                                forward to the appropriate parties

 03/19/2020   CRR     CA        Revise WIP;                                               0.40        825.00      $330.00

 03/19/2020   CRR     CA        Email communication w/ Debtors’ counsel re share          0.30        825.00      $247.50
                                of confidential documents;

 03/19/2020   SWG     CA        Update contact list.                                      0.10        625.00       $62.50

 03/23/2020   PEC     CA        Review daily correspondence and pleadings and             0.20        425.00       $85.00
                                forward to the appropriate parties

 03/24/2020   PEC     CA        Review daily correspondence and pleadings and             0.20        425.00       $85.00
                                forward to the appropriate parties

 03/24/2020   PEC     CA        Review daily correspondence and pleadings and             0.20        425.00       $85.00
                                forward to the appropriate parties

 03/24/2020   PEC     CA        Revise and review critical dates                          0.80        425.00      $340.00

 03/24/2020   ARP     CA        Document request for Patty.                               1.00        350.00      $350.00

 03/24/2020   KSN     CA        Document request as per Patty Cuniff.                     0.70        350.00      $245.00

 03/24/2020   KSN     CA        Maintain document control.                                0.20        350.00       $70.00

 03/26/2020   PEC     CA        Review daily correspondence and pleadings and             0.20        425.00       $85.00
                                forward to the appropriate parties

 03/26/2020   PEC     CA        Update critical dates                                     0.40        425.00      $170.00

 03/26/2020   PEC     CA        Review daily correspondence and pleadings and             0.20        425.00       $85.00
                                forward to the appropriate parties

 03/26/2020   BMK     CA        Prepared daily memo narrative and coordinated             0.10        350.00       $35.00
                                client distribution.

 03/26/2020   BJS     CA        Review critical dates and discuss with Patricia E.        0.10      1050.00       $105.00
                                Cuniff

 03/26/2020   CRR     CA        Review critical dates                                     0.20        825.00      $165.00

 03/28/2020   MBL     CA        Emails with team re case status; review agenda.           0.10        950.00       $95.00

 03/28/2020   BJS     CA        Review agenda and discuss with Colin R. Robinson          0.10      1050.00       $105.00

 03/30/2020   KSN     CA        Maintain document control.                                0.20        350.00       $70.00

 03/30/2020   BMK     CA        Prepared daily memo narrative and coordinated             0.20        350.00       $70.00
                                client distribution.
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                                                                                        Hours            Rate      Amount

 03/31/2020   PEC     CA        Update critical dates                                     0.40        425.00       $170.00

 03/31/2020   PEC     CA        Review daily correspondence and pleadings and             0.20        425.00        $85.00
                                forward to the appropriate parties

 03/31/2020   KSN     CA        Maintain document control.                                0.20        350.00        $70.00

 03/31/2020   BMK     CA        Prepared daily memo narrative and coordinated             0.20        350.00        $70.00
                                client distribution.

 04/01/2020   KSN     CA        Maintain document control.                                0.20        350.00        $70.00

 04/01/2020   BMK     CA        Prepared daily memo narrative and coordinated             0.10        350.00        $35.00
                                client distribution.

 04/02/2020   BMK     CA        Prepared daily memo narrative and coordinated             0.30        350.00       $105.00
                                client distribution.

 04/03/2020   KKY     CA        Review and revise 2002 service list                       0.30        425.00       $127.50

 04/03/2020   KSN     CA        Maintain document control.                                0.40        350.00       $140.00

 04/03/2020   BMK     CA        Prepared daily memo narrative and coordinated             0.20        350.00        $70.00
                                client distribution.

 04/06/2020   SLP     CA        Maintain document control (2) receive multiple            1.80        350.00       $630.00
                                documents to organize (1.3) enter documents into
                                legal key ( .3)

 04/06/2020   KSN     CA        Maintain document control.                                0.30        350.00       $105.00

 04/06/2020   BMK     CA        Prepared daily memo narrative and coordinated             0.20        350.00        $70.00
                                client distribution.

                                                                                         14.10                    $7,337.50

  Financing [B230]
 03/18/2020   BJS     FN        Review DIP                                                1.00      1050.00       $1,050.00

 03/18/2020   BJS     FN        Teleconference with J. Feldsher regarding                 0.30      1050.00        $315.00
                                liquidation, operational issues

 03/23/2020   MBL     FN        Review background documents and pleadings (0.4);          0.50        950.00       $475.00
                                emails with team re info requests (0.1).

 03/24/2020   MBL     FN        Follow-up with team re financing status and next          0.30        950.00       $285.00
                                steps; review wind-down plan.

 03/24/2020   BJS     FN        Various emails with PSZJ regarding cash collateral        0.20      1050.00        $210.00

 03/24/2020   BJS     FN        Various emails with Maxim B. Litvak regarding             0.10      1050.00        $105.00
                                cash collateral
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                                                                                         Hours            Rate     Amount

 03/24/2020   CRR     FN        Email re lien review and status of same with M             0.20        825.00      $165.00
                                Litvak, B Sandler;

 03/25/2020   MBL     FN        Follow-up with team re financing status and next           0.30        950.00      $285.00
                                steps; review wind-down plan.

 03/25/2020   BJS     FN        Various emails with Gregory Werkheiser regarding           0.20      1050.00       $210.00
                                cash collateral, shutdown plan

 03/25/2020   BJS     FN        Teleconference with J. Feldsher regarding cash             0.40      1050.00       $420.00
                                collateral

 03/26/2020   MBL     FN        Follow-up emails with team re status (0.1); review         0.40        950.00      $380.00
                                temporary procedures motion and Court response
                                (0.3).

 03/26/2020   MBL     FN        Review cash collateral order and loan documents.           0.50        950.00      $475.00

 03/26/2020   RJF     FN        Review debtor budget and strategic plan.                   0.70      1245.00       $871.50

 03/26/2020   RJF     FN        Telephone conference with Bradford J. Sandler              0.10      1245.00       $124.50
                                regarding debtor budget and strategic plan.

 03/26/2020   BJS     FN        Various emails with Maxim B. Litvak regarding              0.20      1050.00       $210.00
                                cash collateral order, shutdown

 03/28/2020   BJS     FN        Various emails with Alix Partners regarding budget         0.20      1050.00       $210.00

 03/28/2020   BJS     FN        Various emails with Gregory Werkheiser regarding           0.10      1050.00       $105.00
                                cash collateral budget

 03/28/2020   BJS     FN        Various emails with J. Feldsher regarding interim          0.10      1050.00       $105.00
                                cash collateral order

 03/29/2020   RJF     FN        Call with Alix, Bradford J. Sandler regarding case         0.40      1245.00       $498.00
                                status.

 03/29/2020   RJF     FN        Emails debtors' counsel, Bradford J. Sandler               0.30      1245.00       $373.50
                                regarding case status.

 03/30/2020   RJF     FN        Telephone conference with Bradford J. Sandler and          0.30      1245.00       $373.50
                                emails regarding shutdown of case.

 03/30/2020   RJF     FN        Review carve-out trigger notice and related emails.        0.20      1245.00       $249.00

 03/31/2020   BJS     FN        Review CTG invoice                                         0.10      1050.00       $105.00

 03/31/2020   BJS     FN        Various emails with Colin R. Robinson regarding            0.10      1050.00       $105.00
                                budget

 03/31/2020   CRR     FN        Email re fee estimates for budget, follow-up re            0.30        825.00      $247.50
                                same;
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                                                                                         Hours            Rate      Amount

 04/01/2020   CRR     FN        Respond to Debtors re fee estimates;                       0.20        825.00       $165.00

 04/02/2020   RJF     FN        Review correspondence regarding payment of                 0.30      1245.00        $373.50
                                payroll, cash collateral use.

                                                                                           8.00                    $8,491.00

  General Creditors Comm. [B150]
 03/18/2020   BJS     GC        Teleconference with B. Sher regarding case                 0.20      1050.00        $210.00
                                issues/financial advisor interviews

 03/18/2020   BJS     GC        Various emails with PSZJ regarding organizational          1.00      1050.00       $1,050.00
                                issues (bylaws, expense reimbursement, case issues,
                                etc.)

 03/18/2020   SWG     GC        Draft Committee contact list                               0.40        625.00       $250.00

 03/18/2020   SWG     GC        Draft Committee bylaws.                                    0.20        625.00       $125.00

 03/18/2020   SWG     GC        Attend to creation of committee email lists.               0.30        625.00       $187.50

 03/18/2020   SWG     GC        Draft Committee member expense reimbursement               0.10        625.00        $62.50
                                form.

 03/19/2020   RJF     GC        Call with Benesch regarding case issues.                   0.50      1245.00        $622.50

 03/19/2020   RJF     GC        Call with Alix regarding case issues.                      0.50      1245.00        $622.50

 03/19/2020   RJF     GC        Telephonic committee meeting to update committee           1.60      1245.00       $1,992.00
                                and interview FA's.

 03/19/2020   BJS     GC        Various emails with BRG, BDO, Alix, Rock Creek             1.00      1050.00       $1,050.00
                                regarding interviews, case issues

 03/19/2020   BJS     GC        Prepare for and conduct UCC call regarding                 2.00      1050.00       $2,100.00
                                financial advisor interviews, shutdown

 03/19/2020   CRR     GC        Telephone conference w/ Debtors professionals              1.40        825.00      $1,155.00

 03/20/2020   PJJ     GC        Draft memorandum to Committee summarizing first            1.80        425.00       $765.00
                                day pleadings.

 03/20/2020   CRR     GC        Email communication w/ Debtors' counsel re                 0.20        825.00       $165.00
                                confidentiality provision;

 03/20/2020   CRR     GC        Review first day motions;                                  1.10        825.00       $907.50

 03/21/2020   SWG     GC        Draft motion summary memorandum.                           0.80        625.00       $500.00

 03/22/2020   LFC     GC        Review first day pleadings                                 2.80      1075.00       $3,010.00

 03/23/2020   LFC     GC        Review first day pleadings, cash collateral motion,        3.80      1075.00       $4,085.00
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                                                                                         Hours            Rate       Amount
                                first day declaration and cash management motion
                                and outline cash management issues
 03/23/2020   PEC     GC        Draft initial critical dates memo                          1.20        425.00        $510.00

 03/23/2020   CRR     GC        Review memo re first day motions;                          0.80        825.00        $660.00

 03/23/2020   SWG     GC        Update first day summary memorandum.                       0.40        625.00        $250.00

 03/24/2020   LFC     GC        Review pleadings and outline questions and issues          1.50      1075.00        $1,612.50
                                for conference call with financial advisors

 03/25/2020   LFC     GC        Prepare for and participate on conference call with        0.80      1075.00         $860.00
                                financial advisors to committee regarding cash
                                management

 03/30/2020   CRR     GC        Confer with S Golden, B Sandler re second day              0.50        825.00        $412.50
                                orders (.2) review WIP (.2); Email to Debtors'
                                counsel (.1);

                                                                                          24.90                    $23,164.50

  Hearing
 03/18/2020   CRR     HE        Review pleadings re telephonic conference w/               0.40        825.00        $330.00
                                chambers;

 03/19/2020   RJF     HE        Attend telephonic Chambers conference.                     0.60      1245.00         $747.00

 03/19/2020   BJS     HE        Chambers call                                              0.50      1050.00         $525.00

 03/24/2020   RJF     HE        Telephonic status conference.                              0.50      1245.00         $622.50

 03/24/2020   BJS     HE        Status conference with the court                           0.50      1050.00         $525.00

 03/26/2020   RJF     HE        Telephonic hearing regarding status update.                0.70      1245.00         $871.50

 03/26/2020   BJS     HE        Telephonic hearing                                         0.70      1050.00         $735.00

 03/26/2020   CRR     HE        Prepare for, attend telephonic hearing;                    1.00        825.00        $825.00

 03/30/2020   CRR     HE        Review Email from Debtors re upcoming hearing;             0.20        825.00        $165.00

 03/31/2020   RJF     HE        Attend telephonic hearing.                                 1.50      1245.00        $1,867.50

 03/31/2020   BJS     HE        Telephonic hearing                                         1.50      1050.00        $1,575.00

 03/31/2020   CRR     HE        Attend hearing re cash collateral, case status;            1.60        825.00       $1,320.00

 04/03/2020   RJF     HE        Telephone conferences with Bradford J. Sandler             0.20      1245.00         $249.00
                                regarding hearing on cash collateral order.

 04/06/2020   RJF     HE        Attend telephonic hearing on conversion motion.            0.80      1245.00         $996.00
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                                                                                          10.70                    $11,353.50

  Operations [B210]
 03/18/2020   BJS     OP        Teleconference with M. Barrie regarding operational        0.40      1050.00         $420.00
                                issues/strategy

 03/19/2020   RJF     OP        Telephone conference with Richendorfer regarding           0.20      1245.00         $249.00
                                review UST objection to liquidator motion and
                                related research.

 03/19/2020   BJS     OP        Teleconference with debtors regarding case issues,         0.50      1050.00         $525.00
                                shut down

 03/19/2020   BJS     OP        Various emails with debtors regarding shut down            0.30      1050.00         $315.00

 03/19/2020   BJS     OP        Teleconference with M. Barrie, Gregory Werkheiser          0.20      1050.00         $210.00
                                regarding shut down

 03/19/2020   BJS     OP        Various emails with UCC regarding shutdown                 1.00      1050.00        $1,050.00

 03/20/2020   BJS     OP        Various emails with M. Small regarding rent issues         0.30      1050.00         $315.00

 03/20/2020   BJS     OP        Various emails with J. Ciochetto regarding                 0.10      1050.00         $105.00
                                shutdown issues

 03/20/2020   BJS     OP        Various emails with C, Ganz regarding rent, master         0.30      1050.00         $315.00
                                lease issues

 03/21/2020   BJS     OP        Various emails with debtors regarding shutdown             0.50      1050.00         $525.00
                                issues

 03/23/2020   BJS     OP        Various emails with debtors regarding shutdown             0.20      1050.00         $210.00
                                issues

 03/23/2020   BJS     OP        Various emails with Alix Partners regarding                0.30      1050.00         $315.00
                                shutdown plan

 03/23/2020   BJS     OP        Review initial monthly operating report                    0.10      1050.00         $105.00

 03/23/2020   BJS     OP        Teleconference with Gregory Werkheiser regarding           0.20      1050.00         $210.00
                                business plan

 03/23/2020   BJS     OP        Various emails with Alix Partners regarding                0.10      1050.00         $105.00
                                shutdown plan

 03/24/2020   BJS     OP        Teleconference with J. Feldsher regarding                  0.60      1050.00         $630.00
                                operations, shutdown requirements

 03/24/2020   BJS     OP        Review debtors' business plan                              0.40      1050.00         $420.00

 03/24/2020   BJS     OP        Various emails with R. Gold regarding status, Levin        0.20      1050.00         $210.00
                                bid, shutdown

 03/24/2020   BJS     OP        Various emails with UCC regarding shutdown issues          0.40      1050.00         $420.00
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 03/24/2020   BJS     OP        Teleconference with Anthony Saccullo regarding            0.40      1050.00        $420.00
                                Lazboy, shutdown issues

 03/24/2020   BJS     OP        Review WARN complaint                                     0.30      1050.00        $315.00

 03/25/2020   BJS     OP        Teleconference with Jeffrey Waxman regarding              0.40      1050.00        $420.00
                                operations, cash collateral

 03/25/2020   BJS     OP        Teleconference with M. Barrie and Gregory                 0.40      1050.00        $420.00
                                Werkheiser regarding operations, cash collateral

 03/26/2020   BJS     OP        Various emails with Gregory Werkheiser regarding          0.20      1050.00        $210.00
                                business plan

 03/26/2020   BJS     OP        Various emails with J. Feldsher regarding business        0.10      1050.00        $105.00
                                plan

 03/26/2020   BJS     OP        Various emails with PSZJ regarding business plan          0.30      1050.00        $315.00

 03/26/2020   BJS     OP        Various emails with Paul Hague regarding case             0.20      1050.00        $210.00
                                issues

 03/26/2020   BJS     OP        Teleconference with Jack Reisner and Rene                 0.30      1050.00        $315.00
                                Rupianin regarding WARN issues

 03/26/2020   BJS     OP        Various emails with Robert J. Feinstein regarding         0.20      1050.00        $210.00
                                mothball plan

 03/29/2020   BJS     OP        Teleconference with Alix Partners/PSZJ regarding          0.50      1050.00        $525.00
                                shutdown, budget, Robert Levin/UCC cooperation

 03/29/2020   BJS     OP        Various emails with UCC regarding mothballing,            1.00      1050.00       $1,050.00
                                conversion, Robert Levin discussion, Van Elslander
                                letter of intent

 03/29/2020   BJS     OP        Teleconference with C. Ganz regarding US assets           0.40      1050.00        $420.00
                                letter of intent, shutdown issues

 03/30/2020   BJS     OP        Various emails with M. Clark regarding shutdown           0.30      1050.00        $315.00
                                issues

 03/30/2020   BJS     OP        Various emails with debtors regarding operations          0.10      1050.00        $105.00

 03/30/2020   BJS     OP        Various emails with UCC regarding conversion,             0.50      1050.00        $525.00
                                Gary Van Elslander

 03/30/2020   BJS     OP        Teleconference with M. Barrier, Gregory                   0.20      1050.00        $210.00
                                Werkheiser regarding conversion

 03/30/2020   BJS     OP        Teleconference with J. Feldsher regarding                 0.30      1050.00        $315.00
                                conversion

 03/30/2020   BJS     OP        Teleconference with P. Hage regarding operations,         0.30      1050.00        $315.00
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                                shutdown
 03/31/2020   BJS     OP        Various emails with R. Gold regarding conversion           0.20      1050.00         $210.00

                                                                                          12.90                    $13,584.00

  Retention of Prof. [B160]
 03/18/2020   SWG     RP        Draft notice of appearance.                                0.20        625.00        $125.00

 03/19/2020   GFB     RP        Review email from Colin Robinson regarding                 0.70        825.00        $577.50
                                conflicts project, and draft response. Review and
                                analyze conflicts data, draft emails to Laura Davis
                                Jones and Brad Sandler regarding same; review
                                responses and annotate charts regarding same.

 03/19/2020   CRR     RP        Email communication re PSZJ retention and conflict         0.20        825.00        $165.00
                                review;

 03/23/2020   CRR     RP        Email with G Brandt, A Bonn re conflict review;            0.20        825.00        $165.00

 03/25/2020   PJJ     RP        Draft PSZJ retention application.                          1.50        425.00        $637.50

 03/26/2020   CRR     RP        Review draft PSZJ retention application and Email          0.30        825.00        $247.50
                                with B Sandlers, S Golden re same;

 03/26/2020   SWG     RP        Edit PSZJ retention application.                           0.20        625.00        $125.00

 04/03/2020   KKY     RP        Serve (.1) and prepare for filing and service (1.0)        1.10        425.00        $467.50
                                PSZJ retention app

                                                                                           4.40                     $2,510.00

  Ret. of Prof./Other
 03/18/2020   BJS     RPO       Teleconference with Linda Richendorfer regarding           0.40      1050.00         $420.00
                                Hilco

 03/25/2020   BJS     RPO       Various emails with Alix Partners regarding                0.10      1050.00         $105.00
                                retention application

 03/26/2020   BJS     RPO       Review MMWR retention application                          0.10      1050.00         $105.00

 03/26/2020   CRR     RPO       Email with L Verry re Alix retention application;          0.20        825.00        $165.00

 04/01/2020   CRR     RPO       Review Alix, PSZJ retention applications and email         0.80        825.00        $660.00
                                to Alix team re same;

 04/03/2020   KKY     RPO       Serve (.1) and prepare for filing and service (1.0)        1.10        425.00        $467.50
                                AlixPartners retention app

                                                                                           2.70                     $1,922.50
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  TOTAL SERVICES FOR THIS MATTER:                                                           $76,736.50
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 Expenses
 03/12/2020   CC        Conference Call [E105] CourtCall Debit Ledger for                 85.50
                        03/01/2020 through 03/31/2020, SWG
 03/17/2020   TR        Transcript [E116] Reliable, Inv. WL0911618, LSC                  218.40
 03/24/2020   RE        ( 208 @0.20 PER PG)                                               41.60
 03/24/2020   RE        ( 583 @0.20 PER PG)                                              116.60
 03/24/2020   RE        ( 833 @0.20 PER PG)                                              166.60
 03/24/2020   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                       1.50
 03/24/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                       1.20
 03/24/2020   RE2       SCAN/COPY ( 25 @0.10 PER PG)                                       2.50
 03/24/2020   RE2       SCAN/COPY ( 55 @0.10 PER PG)                                       5.50
 03/24/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                        0.60
 03/24/2020   RE2       SCAN/COPY ( 49 @0.10 PER PG)                                       4.90
 03/24/2020   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                       1.70
 03/24/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                        0.60
 03/24/2020   RE2       SCAN/COPY ( 87 @0.10 PER PG)                                       8.70
 03/24/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                        0.40
 03/24/2020   RE2       SCAN/COPY ( 77 @0.10 PER PG)                                       7.70
 03/24/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                        0.60
 03/24/2020   RE2       SCAN/COPY ( 41 @0.10 PER PG)                                       4.10
 03/24/2020   RE2       SCAN/COPY ( 27 @0.10 PER PG)                                       2.70
 03/24/2020   RE2       SCAN/COPY ( 26 @0.10 PER PG)                                       2.60
 03/24/2020   RE2       SCAN/COPY ( 86 @0.10 PER PG)                                       8.60
 03/24/2020   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                        0.70
 03/24/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                       1.20
 03/24/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                        0.30
 03/24/2020   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                        0.50
 03/24/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                        0.30
 03/24/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                        0.60
 03/24/2020   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                       1.70
 03/24/2020   RE2       SCAN/COPY ( 87 @0.10 PER PG)                                       8.70
 03/24/2020   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                        0.50
 03/24/2020   RE2       SCAN/COPY ( 77 @0.10 PER PG)                                       7.70
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 03/24/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                  0.60
 03/24/2020   RE2       SCAN/COPY ( 48 @0.10 PER PG)                                 4.80
 03/24/2020   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                 1.70
 03/24/2020   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                 2.00
 03/24/2020   RE2       SCAN/COPY ( 38 @0.10 PER PG)                                 3.80
 03/24/2020   RE2       SCAN/COPY ( 87 @0.10 PER PG)                                 8.70
 03/24/2020   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                 2.00
 03/24/2020   RE2       SCAN/COPY ( 46 @0.10 PER PG)                                 4.60
 03/24/2020   RE2       SCAN/COPY ( 41 @0.10 PER PG)                                 4.10
 03/24/2020   RE2       SCAN/COPY ( 61 @0.10 PER PG)                                 6.10
 03/24/2020   RE2       SCAN/COPY ( 65 @0.10 PER PG)                                 6.50
 03/24/2020   RE2       SCAN/COPY ( 28 @0.10 PER PG)                                 2.80
 03/24/2020   RE2       SCAN/COPY ( 38 @0.10 PER PG)                                 3.80
 03/24/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                  0.30
 03/24/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                  0.60
 03/24/2020   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                  0.90
 03/24/2020   RE2       SCAN/COPY ( 128 @0.10 PER PG)                               12.80
 03/24/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                  0.60
 03/24/2020   RE2       SCAN/COPY ( 49 @0.10 PER PG)                                 4.90
 03/24/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
 03/24/2020   RE2       SCAN/COPY ( 25 @0.10 PER PG)                                 2.50
 03/24/2020   RE2       SCAN/COPY ( 46 @0.10 PER PG)                                 4.60
 03/24/2020   RE2       SCAN/COPY ( 61 @0.10 PER PG)                                 6.10
 03/24/2020   RE2       SCAN/COPY ( 28 @0.10 PER PG)                                 2.80
 03/24/2020   RE2       SCAN/COPY ( 128 @0.10 PER PG)                               12.80
 03/24/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                  0.60
 03/24/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                  0.60
 03/24/2020   RE2       SCAN/COPY ( 86 @0.10 PER PG)                                 8.60
 03/24/2020   RE2       SCAN/COPY ( 49 @0.10 PER PG)                                 4.90
 03/24/2020   RE2       SCAN/COPY ( 54 @0.10 PER PG)                                 5.40
 03/24/2020   RE2       SCAN/COPY ( 37 @0.10 PER PG)                                 3.70
 03/24/2020   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                 1.70
 03/24/2020   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                  0.50
 03/24/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
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 03/24/2020   RE2       SCAN/COPY ( 87 @0.10 PER PG)                                      8.70
 03/26/2020   RE        ( 5 @0.20 PER PG)                                                 1.00
 03/26/2020   RE        ( 25 @0.20 PER PG)                                                5.00
 03/26/2020   RE        ( 1 @0.20 PER PG)                                                 0.20
 03/30/2020   RE        ( 47 @0.20 PER PG)                                                9.40
 03/30/2020   RE        ( 38 @0.20 PER PG)                                                7.60
 03/30/2020   RE        ( 10 @0.20 PER PG)                                                2.00
 03/30/2020   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                      1.80
 03/30/2020   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                      1.40
 03/30/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                       0.30
 03/30/2020   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                      1.50
 03/31/2020   RE        ( 5 @0.20 PER PG)                                                 1.00
 03/31/2020   RE        ( 83 @0.20 PER PG)                                               16.60
 03/31/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                       0.10
 03/31/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 04/01/2020   FX        05233.00002 Fax Pages for 04-01-20                                4.75
 04/01/2020   FX        05233.00002 Fax Pages for 04-01-20                                4.75
 04/01/2020   RE        ( 12 @0.20 PER PG)                                                2.40
 04/01/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                       0.20
 04/01/2020   RE2       SCAN/COPY ( 7 @0.10 PER PG)                                       0.70
 04/01/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                      1.20
 04/02/2020   RE        ( 20 @0.20 PER PG)                                                4.00
 04/02/2020   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                      1.10
 04/03/2020   FX        05233.00002 Fax Pages for 04-03-20                               23.75
 04/03/2020   FX        05233.00002 Fax Pages for 04-03-20                               23.75
 04/03/2020   RE        ( 24 @0.20 PER PG)                                                4.80
 04/03/2020   RE        ( 4602 @0.20 PER PG)                                            920.40
 04/03/2020   RE        ( 23 @0.20 PER PG)                                                4.60
 04/03/2020   RE        ( 1080 @0.20 PER PG)                                            216.00
 04/03/2020   RE        ( 378 @0.20 PER PG)                                              75.60
 04/03/2020   RE        ( 4 @0.20 PER PG)                                                 0.80
 04/03/2020   RE        ( 11 @0.20 PER PG)                                                2.20
 04/03/2020   RE        ( 4248 @0.20 PER PG)                                            849.60
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 04/03/2020   RE        ( 4968 @0.20 PER PG)                                             993.60
 04/03/2020   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                       1.10
 04/03/2020   RE2       SCAN/COPY ( 254 @0.10 PER PG)                                     25.40
 04/03/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                        0.80
 04/03/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                        0.80
 04/03/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                        0.40
 04/03/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                        0.30
 04/03/2020   RE2       SCAN/COPY ( 59 @0.10 PER PG)                                       5.90
 04/03/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                        0.10
 04/03/2020   RE2       SCAN/COPY ( 30 @0.10 PER PG)                                       3.00
 04/03/2020   RE2       SCAN/COPY ( 69 @0.10 PER PG)                                       6.90
 04/03/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                        0.40
 04/03/2020   RE2       SCAN/COPY ( 120 @0.10 PER PG)                                     12.00
 04/03/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                        0.20
 04/03/2020   RE2       SCAN/COPY ( 38 @0.10 PER PG)                                       3.80
 04/03/2020   RE2       SCAN/COPY ( 77 @0.10 PER PG)                                       7.70
 04/03/2020   RE2       SCAN/COPY ( 156 @0.10 PER PG)                                     15.60
 04/03/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                        0.20
 04/04/2020   CC        Conference Call [E105] CourtCall Debit Ledger for                 27.75
                        04/02/2020 through 04/16/2020, BJS
 04/04/2020   CC        Conference Call [E105] CourtCall Debit Ledger for                 22.50
                        04/02/2020 through 04/16/2020, CRR
 04/04/2020   CC        Conference Call [E105] CourtCall Debit Ledger for                 27.75
                        04/02/2020 through 04/16/2020, RJF
 04/05/2020   CC        Conference Call [E105] CourtCall Debit Ledger for                 43.50
                        04/02/2020 through 04/16/2020, BJS
 04/05/2020   CC        Conference Call [E105] CourtCall Debit Ledger for                 43.50
                        04/02/2020 through 04/16/2020, CRR
 04/05/2020   CC        Conference Call [E105] CourtCall Debit Ledger for                 43.50
                        04/02/2020 through 04/16/2020, RJF
 04/06/2020   FX        05233.00002 Fax Pages for 04-06-20                                 1.25
 04/06/2020   FX        05233.00002 Fax Pages for 04-06-20                                 1.25
 04/06/2020   RE        ( 3 @0.20 PER PG)                                                  0.60
 04/06/2020   RE        ( 3 @0.20 PER PG)                                                  0.60
 04/06/2020   RE        ( 1 @0.20 PER PG)                                                  0.20
 04/06/2020   RE        ( 12 @0.20 PER PG)                                                 2.40
 04/06/2020   RE        ( 50 @0.20 PER PG)                                                10.00
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 04/06/2020   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                  2.20
 04/06/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
 04/06/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                   0.20
 04/06/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                   0.60
 04/06/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                   0.30
 04/06/2020   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                  1.30
 04/06/2020   RE2       SCAN/COPY ( 156 @0.10 PER PG)                                15.60
 04/06/2020   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                  1.60
 04/06/2020   RE2       SCAN/COPY ( 60 @0.10 PER PG)                                  6.00
 04/06/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                   0.20
 04/06/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                   0.30
 04/06/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                   0.80
 04/06/2020   RE2       SCAN/COPY ( 120 @0.10 PER PG)                                12.00
 04/06/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                   0.60
 04/06/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40

   Total Expenses for this Matter                                              $4,376.50
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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        04/06/2020

Total Fees                                                                                            $76,736.50

Total Expenses                                                                                             4,376.50

Total Due on Current Invoice                                                                          $81,113.00

  Outstanding Balance from prior invoices as of        04/06/2020          (May not include recent payments)

A/R Bill Number          Invoice Date                Fees Billed        Expenses Billed              Balance Due



             Total Amount Due on Current and Prior Invoices:                                           $81,113.00
